    Case 2:10-md-02179-CJB-DPC Document 2888-3 Filed 06/20/11 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig                 *         MDL No. 2179
“Deepwater Horizon” in the Gulf                 *
of Mexico on April 20, 2010                     *         SECTION: J
                                                *
This Document Relates to:                       *         JUDGE BARBIER
Case No. 2:10-CV-02771                          *
                                                *         MAGISTRATE SHUSHAN
                                                *
*   *    *   *   *   *   *    *     *   *   *   *




                                            ORDER

        Considering the Motion of Defendant MOEX Offshore 2007 LLC to dismiss all claims

against it in Third Party Defendant Dril-Quip, Inc.’s Cross-Claims for failure to state a claim

upon which relief can be granted:


        IT IS HEREBY ORDERED that all claims against Defendant MOEX Offshore 2007

LLC in Third Party Defendant Dril-Quip, Inc.’s Cross-Claims are dismissed.


        New Orleans, Louisiana, this _____ day of _____, 2011.




                                             __________________________________
                                             UNITED STATES DISTRICT JUDGE
